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6                           UNITED STATES DISTRICT COURT
7                         FOR THE DISTRICT OF WASHINGTON
8
9 UNITED STATES OF AMERICA,                          No. CR-12-120-RMP-4
10                       Plaintiff,
11 vs.                                              ORDER DENYING DEFENDANT’S
                                                    MOTION FOR RECONSIDERATION
12
13 TROY WAYNE DAVIS, a/k/a Troy W.                  ☒      MOTION DENIED
14 Davis,                                                  (ECF No. 82)
15                       Defendant.
16
17   Date of bail hearing: 11/20/2012
18                     FINDINGS OF FACT AND STATEMENT OF
19                             REASONS FOR DETENTION
20   ☐       Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
21   Defendant is a flight risk and a danger to the community based on the nature of the
22   pending charge. Application of the presumption is appropriate in this case.
23   ☒       Defendant has a history of:      ☒      Failures to appear
24                                            ☐      Failures to comply
25   ☐       Defendant has few or no ties to the community.
26   ☒       Defendant has a ☒ significant criminal history.
27   ☐       Defendant has an outstanding warrant(s).
28   ☐       Defendant does not have a suitable residence.

     ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION - 1
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1    ☒       Defendant appears to suffer from chemical dependency.
2    ☐       The Grand Jury has found probable cause.
3    ☒       Other: History of assaultive behavior; representations in assessment by
4    Defendant to assessor (regarding chemical dependency matters) inconsistent with
5    Pretrial Services Report.
6    ☒       The court finds the Defendant is not supervisable.
7    ☐       By a preponderance of the evidence there are no conditions or combination
8    of conditions other than detention that will reasonably assure the appearance of
9    Defendant as required.
10   ☒       By clear and convincing evidence there are no conditions or combination of
11   conditions other than detention that will ensure the safety of the community.
12   ☐       Defendant is currently on probation/supervision resulting from a prior
13   offense.
14   ☐       Bureau of Immigration and Customs Enforcement Detainer.
15           IT IS ORDERED:
16           1.    Defendant shall be held in detention pending disposition of this case
17   or until further order of the court. If Defendant waived a bail hearing, or should
18   circumstances change, Defendant may petition the court to reopen the detention
19   issue by written motion to amend and request for hearing, served upon the United
20   States Attorney.
21           2.    Defendant is committed to the custody of the U.S. Marshal for
22   confinement separate, to the extent practicable, from persons awaiting or serving
23   sentences or being held in custody pending appeal.
24           3.    Defendant shall be afforded reasonable opportunity for private
25   consultation with counsel.
26           4.    If the Defendant seeks review of this Order pursuant to 18 U.S.C. §
27   3145(b), attorney for Defendant shall file a written motion for revocation or
28   amendment of this Order within ten (10) days before the district judge to whom

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1    this case is assigned and note it for hearing at the earliest possible date. Both
2    parties are responsible to ensure the motion is determined promptly.
3          DATED November 20, 2012.
4
5                            S/ CYNTHIA IMBROGNO
                        UNITED STATES MAGISTRATE JUDGE
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     ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION - 3
